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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


BRITTANY SPENCER,                                  )
                                                   )
                PLAINTIFF,                         ) Case No.        1:14-cv-1541 (CRC)
        vs.                                        )
                                                   )
                                                   )
DISTRICT OF COLUMBIA, et al.,
                                                   )
                                                   )
                DEFENDANTS.

                                JOINT STATUS REPORT

        Pursuant to the Court’s September 6, 2016 Order, the parties respectfully submit

this Joint Status Report.

        The parties have reached an agreement to settle this matter, but have not yet had

time to reduce the agreement to writing and fully execute it. Accordingly, the parties

respectfully request that the current stay remain in place for an additional period of 30

days, up to and including November 2, 2016. If the parties have not filed a stipulation of

dismissal by that date, they will file a further status report.



Dated: October 3, 2016

Respectfully submitted,

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*Admitted to practice only in California. Practicing in the District of Columbia under
the direct supervision of Martha J. Mullen, a member of the D.C. Bar, pursuant to D.C.
Court of Appeals Rule 49(c)(4).




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